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IN THE DISTRICT COURT OF LINCOLN COUNTY FILED

STATE OF OKLAHOMA JAN 1 8 2999
CINDY
ALAN BERFG AND JULIANNE BERG, ) LINCOLN couNsoUR! CLERK
As Next Friend of ME BEE. ) ENAHOMA
A minor, )
)
Plaintfis, caseNo. (OT 9-4
)
Vs. )
)
INDEPENDENT SCHOOL DISTRICT NO.4 +)
OF LINCOLN COUNTY, OKLAHOMA, )
A/K/A WELLSTON PUBLIC SCHOOLS, )
)
Defendant. )
PETITION

Comes now Plaintiffs, Alan Berg and Julianne Berg, as next friend of Mie BE a
minor, by and through her attorneys Kent Eldridge and Guinise Marshall Eldridge, and for their
cause of action do allege and state as follows:

PARTIES
1. Plaintiff Alan Berg is the father of the minor child MEE BI. Plaintiff Julianne Berg
is the father of Mi BE
2. Defendant Independent School District No. 4 of Lincoln County, Oklahoma, a/k/a

Wellston Public Schools, is a political subdivision of the State of Oklahoma located at

700 Birch Street, Wellston, Oklahoma74881.

3. The Board of Education of Wellston Public Schools is the governing body of

Independent School District No. 4 of Lincoln County, and is located at 700 Birch Street,

Wellston, Oklahoma 74881.
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JURISDICTION AND VENUE
. This cause of action is brought pursuant to 42 U.S.C. Section 1983 which provides in
relevant part, “Every person who, under color of any statute, ordinance, regulation,
custom or usage, of any State or Territory of the District of Columbia, subjects, or causes
to be subjected, any citizen of the Unites States or other persons within the jurisdiction
thereof to the deprivation of any rights, priviges or immunities secured by the
Constitution and laws, shall be liable to the party injured in an action at law, suit in equity
or other proper proceeding for redress...”; 42 U.S.C. Section 1988 entitled “Proceedings
for Vindication of Civil “Rights” for attorney associated in tis matter, and the Fifth and
Fourteenth Amendments to the Constitution of the United States.
. Venue is proper Lincoln County, Oklahoma in that all of the acts or omissions giving rise
to this claim occurred in this county.

FACTUAL ALLEGATIONS OF PLAINTIFF
. Ma BIEfis an honor student who attends Wellston Public Schools. On November
12, 2021, during the exchange of classes, she took out her phone and begin to record a
student who told her she intended to engage in a fight with another student. There had
been many reports to the teachers and coaches that the fight was going to take place and
the teachers and coaches ignored the students’ warnings. MU Bfbegan to record
the fight, decided that she should not record the fight and left the area before the fight had
ended. Because the fight was what she considered not to be a fair fight, she did not want
to be a part of the crowd and she stopped recording the fight and later deleted the footage.
. On November 12, 2021, ua BEE was suspended for the following reasons which

appears on the Suspension notice dated November 12, 2021: “Video Recording an assault
10.

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13.

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of another student. MB followed and recorded the student who was planning to attack
another student physically from the metal building to the gym area, she stayed and
recorded the fight. MB did not notify an adult as the attack was happening.
According to Suspension notice, the suspension began on November 12, 2021, and ended
on November 16, 2021.
After Plaintiff's received the Suspension notice, a suspension hearing was scheduled with
the Superintendent.
CAUSES OF ACTION
DEPRIVATION OF PROCEDURAL DUE PROCESS IN
VIOLATION OF THE FIFTH AND FOURTEENTH
AMENDMENTS TO THE CONSTITUTION OF THE

UNITED STATES AND THE FIFTH AMENDMENT TO THE
CONSTITUTION OF THE STATE OF OKLAHOMA

 

 

 

 

 

Plaintiffs incorporate Paragraphs 1 through 9 of this Petition as though fully and
specifically set out herein.

According to the policies of the Wellston Public Schools, after the suspension was
imposed, Bffshould have been given the opportunity to appeal to the suspension
committee.

On November 14, 2021, Plaintiff Julianne Berg advised Mike Franz that she wanted to
appeal the suspension of her daughter, Mie BE. Pursuant to the Board Policies
regarding suspension of students.

BE was not given the opportunity to appeal to the suspension committee, but rather her

appeal was handled by the Superintendent.
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14. Despite the request for appeal, Plaintiffs were not given the opportunity to present

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evidence, cross examine opposing witnesses, be represented by counsel, or offer evidence
in the student’s behalf.

Because the appeal was decided by the Superintendent rather than the suspension
committee, there is no mechanism under the present Wellston Public School policy to
appeal the suspension to the Board of Education.

As a result of the deprivation of due process, MI B&Jnow has a permanent stain on
her academic record, which prevents her from applying and being accepted to the college
of her choice.

As a result of MEPs academic record during the school semester, she maintained an
“A” average which exempted her from having to take the semester final examination.
However, she was informed by her teachers that as a further punishment after the
suspension, she would be required to take the final semester examination.

There is no policy or procedure by the Wellston Public Schools which would allow the
imposition of continued disciplinary actions after the period of suspension has been

served.

DEPRIVATION OF LIBERTY INTEREST IN VIOLATION
OF THE FIFTH AND FOURTEENTH AMENDMENTS TO
THE CONSTITUTION OF THE UNITED STATES AND THE
FIFTH AMENDMENT TO THE CONSTITUTION OF THE
STATE OF OKLAHOMA

Plaintiffs incorporate Paragraphs 1 through 18 of this Petition as though fully and

specifically set out herein.

Prior to the suspension, vi Bias a member of the cheering squad, and a

member of the girls’ basketball team and served as the team manager.
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21. Participation in extracurricular activity is key to being able to apply for and for
acceptance to the college of her choice.

22. The eligibility requirements for participation in the extracurricular activities is to
maintain semester grades and that the student must be at school a minimum of 3 hours the
day of the activity.

23. After the imposition of the suspension, and the denial of a procedurally appropriate
appeal, via BE was summarily suspended from her position as cheerleader and her
position as manager of the girls’ basketball team.

24. There are no provisions in the student disciplinary policy which would allow for
continued punishment by the District after discipline has been imposed and that discipline
has been served.

25. Plaintiffs brought the fact that Ma Bcontinued to be subjected to disciplinary
action beyond the suspension period to both the principal and to the Superintendent.

26. Both the Principal and the Superintendent maintained that the actions of the individual
teachers who imposed the discipline was beyond their control and not an official decision
of the Wellston Schoo! District.

27. Plaintiffs maintain that vi | Bebad a liberty interest in continued participation in
extracurricular activities, so long as she met the Scholastic Eligibility and Attendance
Requirements set by the Wellston School District.

28. At all times, va Be has continued to maintain an “A” average and has continued

to meet all attendance requirements.
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29. Plaintiffs contend that the actions by the employees and agents of the Wellston School
District in continuing to impose discipline, beyond the policies which outline the
imposition of student discipline, are arbitrary and capricious.

DEPRIVATION OF SUBSTANTIVE DUE PROCESS
OF THE FIFTH AND FOURTEENTH AMENDMENTS TO THE
CONSTITUTION OF THE UNITED STATES AND THE FIFTH
AMENDMENT TO THE CONSTITUTION OF OKLAHOMA

30. Plaintiffs incorporate Paragraphs 1 through 30 of this Petition as though fully and
specifically set out herein.

31. Every citizen in the State of Oklahoma has a right to be a witness. The Wellston School
District suspended MES Hor being a witness to a fight.

32. The Wellston School District, after prohibiting BI from being a witness, then punished
her for not reporting what she had witnessed.

33. Plaintiffs contend that the Wellston School District policy to prevent its students from
being a witness is violative of both procedural and substantive due process.

34. Plaintiffs further contend that the Wellston School District police to punish its students
for not reporting that which the Wellston School District prohibits from witnessing is
violative both of procedural and substantive due process.

DAMAGES

35. Plaintiffs incorporate Paragraphs 1 through 34 of this Petition as though fully and
specifically set out herein.

36. As a result of the actions of Defendant Wellston School District, Plaintiffs have suffered
financial damages, emotional damages, liberty interest, scholarship opportunities, college

admission opportunities, nightmares, depression loss of hope, feelings of helplessness,

loss of academic relationships.
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PRAYER FOR RELIEF

37. Plaintiffs pray for injunctive relief, specifically, that the suspension be removed from the
permanent academic record of Ma BE and that Mi BR be reinstated to the
extracurricular activities in which she previously participate; that the Wellston School
District be enjoined from prohibiting its students to be witnesses; enjoin the Wellston
School District from imposing discipline outside the procedures which are delineated in
its policies and procedures; award Plaintiffs damages in an amount in excess of ten-
thousand-dollars and award Plaintiffs a reasonable attorney fee.

JURY TRIAL DEMANDED.
ATTORNEY’S LEIN CLAIMED.

  

Kent Eldridge OBA#2663
Guinise Marshall Eldridge OBA#13902
KENT ELDRIDGE, P.C.

222 N.W. 13" Street

Oklahoma City, Oklahoma 73103

(405) 235-6565 Phone

(405) 523-2108 Fax
